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         EXHIBIT 15
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                                                                 DAY 2019
NEW YORK CITY


November 14, 2019
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WELCOME
by André El-Mann CEO
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FUNO, BEST IN CLASS
by Jorge Pigeon   VP of Capital Markets & Investor Relations
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                 TRIED AND TESTED MODEL

                              Best properties in the best
                                      locations

                                                                1




                                    FUNO’s
                                   sustainable
                                 business model
                          3                                                                            2
Prudent leverage policy                                                                                     High occupancy with
                                                                                                           competitive rent levels
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              FUNO, BEST IN CLASS




Best properties                                                                         Best locations
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                                       FUNO, BEST IN CLASS
                                                  (1)
                                      Largest REIT in Latin America
• FUNO is 3.4x larger than its                    • We have developed more than                                                                      • We have acquired more than
  closest competitor in Latam                       1.2 million sqm of GLA                                                                             7.5 million sqm of GLA

                                            Investment properties and investment in affiliates
                                                                  (MXP Million as of 3Q’19)
                         243,658




                                            (2)
                                   72,135         63,355      54,753                  48,153                                  46,165                       (2)
                                                                                                                                         40,167   35,798         33,032   (2)




                                                  (1) Real Estate Investment Trust = FIBRA, (2) 1 BRL = 4.75 MXN
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                             FUNO, BEST IN CLASS
                             Highly Diversified portfolio
• Highly diversified portfolio by segment                                                                   • Well laddered lease terms
  and tenants

              45%                  24%                                                                                          Lease Term by ABR

                                                                                                                                                   52%
                        NOI
                    Breakdown(1)




                                                                                                                              14%    12%    12%
              11%              20%                                                                                     4%                                   6%

     Retail     Industrial     Office          Other                                                                   2019   2020   2021   2022   2023+ Others(3)




                               (1) Includes 100% of Torre Mayor´s and Torre Diana´s ABR
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                FUNO, BEST IN CLASS
                Highly Diversified portfolio
• Main presence in the country’s most dynamic cities
• Our top 5 states generate 80% of our ABR

 35%                   Retail                   Industrial                                         Office



        22%


                10%                                                                                                       11%
                       7%               6%
                                                                                 3%                 2%      2%     2%

 CDMX EDO MEX    JAL    QR                NL                                   QRO                 TAMPS    CHIH   COAH   Others
                                                                                                                           (23)
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                       FUNO, BEST IN CLASS

• Constant GLA growth with consistent high occupancy rate

                 Total GLA ('000 sqm)                        Occupancy Rate                                         NOI Margin
       14,000




                95.3%    95.0%      94.4%                                      94.3%                        95.3%      94.3%     100.0%




                                                                                                                                 90.0%




       12,000




                90.0%    88.9%      89.5%                                      90.8%                        88.0%      88.4%     80.0%




       10,000




                                                                                                                       8,745
                                                                                                                                 70.0%




                                                                               8,448                        8,615
                                    7,370
                                                                                                                                 60.0%




                         7,079
        8,000




                5,951
                                                                                                                                 50.0%




        6,000




                                                                                                                                 40.0%




                                                                                                                                 30.0%




        4,000




                                                                                                                                 20.0%




        2,000




                                                                                                                                 10.0%




           0                                                                                                                     0.0%




                2014      2015      2016                                          2017                      2018       3Q19
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                                             OUR TENANTS
                                             Sales 2019 vs. 2018 (%)


                               On average +90% of tenants increased sales
+12%                                       well above inflation




                                                                                                                                                      Inflation
 0%


       apr                        may                           jun                                                                       jul   aug               sep   nov


  SOURCE: ACTUAL SALES. EXTRACT FROM INTERNAL SALES REPORT INCLUDING THE FOLLOWING CATEGORIES (DEPARTMENT STORES, ENTERTAINMENT, FASHION, FOOD SERVICE)
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                                                 FUNO, BEST IN CLASS

                            • Unparalleled access to capital markets MXP 170 billion raised

                                                                                                                                                                                      19,169      $170,119
       Equity Issuance             Debt Issuance
                                                                                                                                                                             9,200
                                                                                                                                                                    9,100
                                                                                                                                                       12,802
                                                                                                                             4,500           9,690
                                                                   10,000                5,202
                                                      32,816

                                           14,630
                                   8,500
                      22,050

           8,877
$3,584
 IPO     Follow-on 1 Follow-on 2   CBFs    USD Notes Follow-on 3   CBFs 2          USD Notes                                   CBFs 3       USD Notes Follow-on 4   CBFs 4   CBFs 5   USD Notes     Total
                                                                                                                                                        (1)
1Q'11
2Q'11




        17.2
3Q'11
4Q'11
1Q'12
2Q'12
3Q'12
4Q'12
1Q'13
2Q'13
3Q'13
4Q'13
1Q'14
2Q'14
3Q'14
4Q'14
1Q'15
2Q'15
3Q'15
4Q'15
                                    NAV PER CBFI
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1Q'16
2Q'16
                      CAGR: 10.7%




3Q'16
4Q'16
1Q'17
2Q'17
3Q'17
4Q'17
1Q'18
2Q'18
3Q'18
4Q'18
1Q'19
2Q´19
3Q´19
               41.4
1Q'11
2Q'11
3Q'11
4Q'11




        0.3022
1Q'12
2Q'12
3Q'12
4Q'12
1Q'13
2Q'13
3Q'13
4Q'13
1Q'14
2Q'14
3Q'14
4Q'14
1Q'15
2Q'15
3Q'15
4Q'15
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1Q'16
2Q'16
                          CAGR: 8.1%




3Q'16
4Q'16
1Q'17
2Q'17
3Q'17
                                       DISTRIBUTION PER CBFI




4Q'17
1Q'18
2Q'18
3Q'18
4Q'18
1Q'19
2Q'19
3Q´19
                 0.5850
                                                     Case 1:24-mc-00016-MKV Document 7-15 Filed 01/10/24 Page 15 of 24




                         TOTAL VALUE CREATED
                      • Value generated since IPO: MXP 100 billion
                                                   (Figures in Ps. mm)
                                                                                                                               44,515          99,542
                                          267,593                                                     55,027
                                                                                                                         (2)
                  98,569
                                 (2)


            (1)
 120,413



Equity Raised     Total Debt            Total Assets                                    Value Created                          Dividends       Dividends
                                                                                                                               Distributed    Distributed +
                                                                                                                                             Value Created
                  (1) Includes repurchased CBFIs                  (2) FUNO has had a net FX effect of MXP 6,416 mm
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              FUNO, BEST IN CLASS


          Global Scale                                                                                 National Scale
                       BBB                                                                                      AAA (mex)
                      Stable                                                                                      Stable
                      BAA2                                                                                       HR AAA
                      Stable                                                                                      Stable



• Prudent leverage with average life of debt of 13 years


• First committed revolving credit facility sustainability-linked in Latin

  America for Mxp. 21.5 billion                                                (1)


                          (1) Mxp. $13.5 billion + Usd. $410 million
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ESG ACHIEVEMENTS
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                                              FUNO’s Awards & Achievements


 REIT Investment
   Management                                              Follow On Equity Deal of the Year ’14                                                   Manager of the       Best REIT ‘17
  of the Year ‘16                                            Best Equity Market Strategy ‘15                                                         Year ‘18




                                                                               Investor of the
                         Best Annual Report ’17
                          Bronze Winner ‘18
                                                                                 Year 2019
                                                                                                                                                   Latin America        2018 Nominee
                                                                                                                                                 Bond of the Year ‘14




                          Top 10 Mexican Reports ‘17 and ’18                        Best Investor Meeting ‘18                          Best Managed Real Estate          Certification
       Top 500                                                                    Top 3 CEO , IR Team, ESG ‘18
                         Gold Award Most Engaging Report ‘18                                                                           Company in Latin America             2018
Mexico’s Companies ‘19
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                                  HOW WE ACHIEVE IT


     At IPO                                                                                                                                           3Q19

                                                                                                                                 NOI:
                                                                                                                                 Mxp. 15 Billion              (3)


NOI:
                 (2)
Mxp. 646 Million
                                                                                                                                 GLA:
GLA:
719,415 SQM
            (1)                                                                                                                  8,744,632 SQM
           (1) GLA of Initial Portfolio (including Toluca)            (2) Annualized NOI of 4Q11                                 (3) Annualized NOI of 3Q19
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                                                HOW WE ACHIEVE IT
                                                LARGEST ACQUISITIONS

                 Capability to more than double the size of the company in the past and more so today

                                                                                                                                                   932             4,163

                                                                                  1,358                                         3,231      3,231            1.3x
GLA ‘000 sqm




                                                    1,872
                                                                                                                   1.7x
                         540            1,547
               1,007             1.5x


               FUNO     Morado
                        Morado      Post-Acq        FUNO                                G-30                                    Post-Acq   FUNO     Apolo
                                                                                                                                                   Apolo       Post-Acq
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                        HOW WE ACHIEVE IT
                             DEVELOPMENTS


   Retail                  Office                                                                            Industrial            Mixed Use
• 7 properties         • 4 properties                                                                       • 7 properties         • 1 property
• 166,932 sqm          • 228,106 sqm                                                                        • 711,912 sqm          • 115,324 sqm
• 5 states             • 2 states                                                                           • 1 state              • 1 state

          Guanajuato          Centrumpark                                                                                Escatto    Midtown Jalisco




   FUNO has developed 19 properties for more than 1.2 mm sqm of our current GLA
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               MITIKAH STATUS



     Residential                               Retail                                          Office Space

  ~85% units sold      ~88% leased                                                             ~79% leased   (1)




1.0 million sqm GBA        Total Stabilized GLA: 337,410 sqm


                      (1) Includes Centro Bancomer
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MITIKAH – TORRE M
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MITIKAH – TORRE M
